UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF LOUISIANA

MARY E. KNIEPER and CIVIL ACTION NO.
HENRY KNIEPER

JUDGE:
VERSUS

MAGISTRATE JUDGE:

SHOE STATION, INC. and LIBERTY
MUTUAL FIRE INSURANCE COMPANY

 

COMPLAINT

 

NOW INTO COURT, through undersigned counsel, come Plaintiffs, Mary E.
Knieper and Henry Knieper, who respectfully represent that the defendants are
indebted to them for the following:

PARTIES
Plaintiffs

1. Plaintiffs, Mary E. Knieper and Henry Knieper, individuals of the full age of

majority and domiciled in Ascension Parish, State of Louisiana
Defendants

2. Defendant SHOE STATION, INC. is a foreign corporation authorized to do
and doing business in the State of Louisiana; and

3. Defendant LIBERTY MUTUAL FIRE INSURANCE COMPANY is a foreign

insurer authorized to do and doing business in the State of Louisiana.
JURISDICTION AND VENUE

 

1. This Court has jurisdiction over this action pursuant to 28 U.S.C. §
1332, diversity jurisdiction, as no defendant shares Louisiana domicile with
plaintiffs.

2. Venue is proper in this Court pursuant to 28 U.S.C. §1391(f)(1)
because a substantial part of the events or omissions giving rise to the claims
herein occurred in this District, and Defendants have at all relevant times been

doing business in this district and throughout Louisiana.

FACTS

3. On or about February 11, 2015, Plaintiff MARY E. KNIEPER, was
shopping at Defendant SHOE STATION, INC.’s store located at 10771 South
Mall Drive in the Parish of East Baton Rouge, State of Louisiana.

4. While shopping, Plaintiff sat on a stool provided by Defendant for

the use of customers in Defendant's store.

5. Suddenly and without warning, this stool collapsed, causing injury
to Plaintiff.
6. As a result of the accident, Plaintiff has suffered physical injuries

including a broken and partially severed finger, has experienced pain, suffering,
frustration and inconvenience, has incurred medical bills, and has suffered lost
wages.

7. Also as a result of the accident, Plaintiffs husband, Co-plaintiff
HENRY KNIEPER, has suffered a loss of consortium due to the physical injuries
sustained by his wife.

8. Plaintiffs are informed and believe that at the time of the accident

referred to herein, and at all other pertinent times, Defendant's business
premises was insured by a liability policy issued by LIBERTY MUTUAL FIRE
INSURANCE COMPANY, which was then in full force and effect, and,
accordingly, a direct cause of action is herein asserted against LIBERTY
MUTUAL FIRE INSURANCE COMPANY.

9. Plaintiffs allege that the accident was due to the fault and
negligence of Defendant SHOE STATION, INC., in the following, non-exclusive
particulars:

a) by failing to maintain a reasonably safe premises;

b) by offering for the use of customers furniture that was not adequately
maintained or safe for intended use;

C) by failing to take reasonable action to prevent injury to customers due to
the unreasonably dangerous nature of its premises;

d) by failing to warn of dangerous conditions and instrumentality within
defendant's garde or custody; and

e) by other acts of negligence, to be shown at trial.
10. Plaintiffs aver that they are therefore entitled to recover from
Defendants a reasonable and equitable award, sufficient to fully and adequately

compensate them for all of their damages resulting from the accident.
PRAYER FOR RELIEF

WHEREFORE, the plaintiffs, MARY E. KNIEPER and HENRY KNIEPER
pray that after all due proceedings are had, there be judgment rendered herein in
their favor, and against the defendants, SHOE STATION, INC. and LIBERTY
MUTUAL FIRE INSURANCE COMPANY, INC., as prayed for above, in an
amount reasonable and equitable in the premises to compensate them for their

damages, together with legal interest from the date of judicial demand until paid
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in full, plus all costs of these proceedings, and for all other general and

equitable relief to which they may be entitled.

Respectfully submitted:

s/Christopher D. Shows
Christopher D, Shows, Trial Attorney
Bar Roll Number 20608

PIERCE & SHOWS

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WAIVER OF THE SERVICE OF SUMMONS TO BE REQUESTED
